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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ELECTRONIC PRIVACY                   )
INFORMATION CENTER,                  )
                                     )
                  Plaintiff,         )
                                     )
              v.                     )  Civil Action No. 19-cv-810 (RBW)
                                     )
UNITED STATES DEPARTMENT OF          )
JUSTICE,                             )
                                     )
                  Defendant.         )
___________________________________ )
                                     )
JASON LEOPOLD, BUZZFEED, INC.,       )
                                     )
                  Plaintiffs,        )
                                     )
              v.                     )  Civil Action No. 19-cv-957 (RBW)
                                     )
UNITED STATES DEPARTMENT OF          )
JUSTICE, et al.                      )
                                     )
                  Defendants.        )
___________________________________ )

         DEFENDANT’S RESPONSE TO PLAINTIFFS’ NOTICE OF FACTUAL
             DEVELOPMENTS RELEVANT TO PENDING MOTIONS

       On May 4, 2020, Plaintiffs Electronic Privacy Information Center (“EPIC”), Jason

Leopold, and Buzzfeed, Inc., filed a Notice of Factual Developments Relevant to Pending Motions,

in which they informed the Court of events occurring in the Roger Stone criminal matter and

argued that those events affect the applicability of certain exemptions under the Freedom of

Information Act (“FOIA”) to material related to Mr. Stone in the Report On The Investigation Into

Russian Inference In The 2016 Presidential Election (“Mueller Report”). Dkt. 119. On June 1,

2020, the Court issued a Minute Order directing Defendant to file a response to Plaintiffs’ Notice



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by June 12, 2020.

       Following the sentencing of Mr. Stone and the lifting of the media communications order

in United States v. Roger Stone, Jr., Crim. Action No. 19-18, the Department of Justice’s Office

of Information Policy (OIP) concluded that reprocessing the Mueller Report is appropriate. The

Office of Information Policy is in the process of reevaluating whether the redactions under FOIA

Exemptions 6, 7(A), 7(B), and 7(C) for material related to Mr. Stone in the Mueller Report remain

applicable. The Office of Information Policy anticipates that its review will be completed and, if

appropriate, an updated version of the Mueller Report will be posted in OIP’s online FOIA Library

no later than Friday, June 19, 2020. Defendant will also file a notice on the docket once

reprocessing is complete.



Dated: June 12, 2020                         Respectfully submitted,

                                             JOSEPH H. HUNT
                                             Assistant Attorney General
                                             Civil Division

                                             ELIZABETH J. SHAPIRO
                                             Deputy Director
                                             Federal Programs Branch

                                             /s/ Courtney D. Enlow
                                             COURTNEY D. ENLOW
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                                             Counsel for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2020, I electronically transmitted the foregoing to the

parties and the clerk of court for the United States District Court for the District of Columbia using

the CM/ECF filing system.



                                               /s/ Courtney D. Enlow
                                               COURTNEY D. ENLOW
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